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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

            Plaintiffs,

      v.
                                       Civil Action
KATHY BOOCKVAR, et al.,                No. 4:20-cv-02078-MWB

            Defendants,                Hon. Matthew W. Brann

NAACP-PENNSYLVANIA STATE
CONFERENCE, et al.,

            Intervenor-Defendants,

DNC SERVICES
CORPORATION/DEMOCRATIC
NATIONAL COMMITTEE,

            Intervenor-Defendant.



       REPLY IN SUPPORT OF MOTION TO DISMISS BY
  INTERVENOR-DEFENDANTS NAACP-PENNSYLVANIA STATE
 CONFERENCE, BLACK POLITICAL EMPOWERMENT PROJECT,
COMMON CAUSE PENNSYLVANIA, LEAGUE OF WOMEN VOTERS
OF PENNSYLVANIA, JOSEPH AYENI, LUCIA GAJDA, STEPHANIE
 HIGGINS, MERIL LARA, RICARDO MORALES, NATALIE PRICE,
           TIM STEVENS, AND TAYLOR STOVER
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                                  INTRODUCTION

         More than two weeks after Election Day, this case remains a lawsuit in search

of a legal theory. Plaintiffs’ latest attempt presents a fantastical “scheme to favor

Biden and other democrat [sic] candidates over Trump and Republican candidates.”

(Plaintiffs’ Omnibus Opposition to Motions to Dismiss the First Amended

Complaint (“Opp.”), Dkt. 170 at 7.) But the operative complaint before the Court

does not allege, much less substantiate, anything remotely like that. The First

Amended Complaint presents a single, exceedingly narrow Equal Protection claim:

counties adopted different approaches to notifying voters of problems with their

mail-in ballots, which made it easier for voters in some counties to cure the problem

and cast a valid ballot. 1 (See Am. Compl. ¶¶ 150–160, Dkt. 125.) On the basis of

this quibble, which they could have challenged before the election but decided not

to, Plaintiffs ask for an extraordinary act of judicial activism: to “set aside [millions

of] votes and declare Trump the winner.” (Opp. 4.)

         This profoundly dangerous request of the Judiciary should be rejected.

Plaintiffs profess to believe that “[e]very legal . . . vote should be counted.” (Am.

Compl. ¶ 1.) But they ask for the opposite—an injunction against counting legal

votes.     They still include the preposterous request for this Court to enjoin


1
  Plaintiffs also bring an Elections and Electors Clause claim based on that same
alleged conduct, but they admit that under binding Third Circuit precedent they lack
standing to bring that claim. (Dkt. 124 at 1.)
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certification of the 2020 General Election results in their entirety, nullifying every

vote cast in Pennsylvania and leaving the Commonwealth without most of its elected

officials. Their fallback request for a “notice and cure” injunction is no less radical.

Plaintiffs say that because some counties made it easier to cast a legal vote than

others, the valid ballots of qualified voters in those counties should be discarded.

There is, of course, nothing wrong with county-by-county variation in election

administration, a well-established feature of U.S. and Pennsylvania elections. But

even if Plaintiffs were right that some counties did something wrong, it would not

remotely follow that the Court should discard the ballots of voters who cured prior

defects and cast perfectly valid, legal votes. The requested relief’s unavailability is

enough to dismiss the First Amended Complaint in its entirety.

      So is the fundamental untimeliness of Plaintiffs’ claims. Because Plaintiffs

concede that they lack standing to bring an Elections and Electors Clause claim, they

can no longer claim that the election was administered in violation of Pennsylvania

law. Plaintiffs’ only remaining claim is that “voters in some counties have been and

are being treated differently than voters in other counties” with respect to when and

whether they were alerted to any defects in mail-in ballots. (Am. Compl. ¶ 158.)

Plaintiffs do not dispute that no later than mid-October, it was publicly known that

counties were taking different approaches to providing notice of defective mail

ballots, such that whether “you get a second chance if you made a mistake on a mail-


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in ballot” could “depend on where you live.” (Dkt. 95-1, at 56, Ex. D.) If Plaintiff

Donald J. Trump for President, Inc. (the “Trump Campaign”) was worried that these

differing approaches would make it harder to vote in “Republican-heavy counties”

(Am. Compl. ¶ 6), it could have done something about it well before Election Day.

Plaintiffs could have sought a pre-election injunction requiring all counties to make

similar efforts to help voters cast legal votes. As a result, Plaintiff Roberts, who is

now “very upset that [his] vote has not been counted” (Dkt. 89-2, at 202, Ex. 14),

could have had an opportunity to cast a valid vote. But Plaintiffs took no legal action

before the election to compel “Republican-heavy counties” to make the same efforts

as other counties. Nor did they seek to enjoin the defendant counties from continuing

their well-publicized efforts to help voters cast valid ballots. Having made that

choice before the election, Plaintiffs cannot try to disrupt the counting of legal votes

afterward.

      While this Court heard argument on Tuesday, the Supreme Court of

Pennsylvania decisively rejected the Trump Campaign’s claim that the Election

Code required greater observer access during canvassing proceedings. The Supreme

Court held that the Election Code only requires that observers can be present in the

room to “broadly observe the mechanics of the canvassing process,” and that closer

observation is not required because under the Election Code, audit-like challenges

to ballots are not permissible. In re Canvassing Observation Appeal of City of


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Philadelphia Bd. of Elections, No. 30 EAP 2020, 2020 WL 6737895, at *8 (Pa. Nov.

17, 2020). But perhaps more importantly, Chief Justice Saylor, who disagreed with

the majority opinion about what access observers must be allowed, would have

rejected the drastic and inappropriate remedy Plaintiffs seek: “[S]hort of

demonstrated fraud, the notion that presumptively valid ballots cast by the

Pennsylvania electorate would be disregarded based on isolated procedural

irregularities that have been redressed—thus disenfranchising potentially thousands

of voters—is misguided.” Id. at *9 (Saylor, C.J., dissenting). Presented with

overheated rhetoric similar to what is in Plaintiffs’ current opposition brief, Chief

Justice Saylor “fail[ed] to see that there is any real issue.” Id.

      Exactly the same can be said of the First Amended Complaint’s notice-and-

cure claims. After lying in wait while Pennsylvania’s 67 counties did their best to

administer an election in the midst of a global pandemic, and without alleging that a

single ineligible voter voted, Plaintiffs now seek to disenfranchise qualified

Pennsylvania voters who followed election officials’ directions to cast legal votes.

Here too there is not any real issue. Plaintiffs’ effort to disenfranchise millions of

Pennsylvanians must be summarily rejected.




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                                      ARGUMENT

I.    Plaintiffs Could Have Brought Their Claims In October, And Are
      Barred From Advancing Them After The Election.

      A.     Dismissal Of Plaintiffs’ Claims Based On Laches Is Appropriate
             At The Pleadings Stage.
      To protect election results from after-the-fact criticisms from losing

candidates, it is well-settled that there is “a duty on parties having grievances based

on election laws to bring their complaints forward for pre-election adjudication when

possible.” Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir. 1983).

(See Opening Br. 7–15.)2 Plaintiffs do not deny that this is the rule. Nor do they

dispute that the doctrine of laches bars untimely claims, or that it applies with

particular rigor to election cases.

      Plaintiffs instead ask the Court not to apply this rule at the pleadings stage,

but, as Plaintiffs concede, a complaint may be dismissed on laches grounds when

“applicability of the doctrine is apparent from the face of the Complaint.” (Opp. 26

(quoting Warner v. Sun Ship, LLC, No. 11-CV-7830, 2012 WL 1521866, at *2 (E.D.

Pa. Apr. 30, 2012))); see also, e.g., Coughlin v. Ryder, 260 F. Supp. 256, 260 (E.D.

Pa. 1966) (dismissal under Rule 12 appropriate “where laches can be determined




2
 References to “Opening Br.” are to Voter Intervenors’ Memorandum in Support of
Motion to Dismiss, Dkt. 95, which Voter Intervenors reprised in support of their
Motion to Dismiss the Amended Complaint, Dkt. 161.

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without the necessity for further factual inquiry”). None of the cases Plaintiffs cite

is to the contrary.

       Laches can thus be applied at the pleadings stage where, as here, the defense

is based on “matters of which a court may take judicial notice,” which are

appropriately considered on a motion to dismiss. Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 322 (2007); see also Bowden v. DB Schenker, No. 1:17-

CV-1999, 2018 WL 1203362, at *2 (M.D. Pa. Mar. 8, 2018) (applying affirmative

defense on Rule 12(b)(6) motion and taking judicial notice of facts relevant to the

defense). 3

       Whether a plaintiff’s claim is barred by laches because of insufficient

diligence depends “not upon what the plaintiff knows, but what he might have

known, by the use of the means of information within his reach, with the vigilance

the law requires of him.” Sprague v. Casey, 550 A.2d 184, 188 (Pa. 1988) (quotation

marks omitted). As the Third Circuit has held, when the question is whether a party

should be charged with notice, press reports are judicially noticeable to “indicate

what was in the public realm at the time.” Benak ex. rel. All. Premier Growth Fund

v. All. Cap. Mgmt., 435 F.3d 396, 401 n.5 (3d Cir. 2006); see also, e.g., Staehr v.


3
 Plaintiffs ignore the Voter Intervenors’ argument, in the alternative, that the Court
could convert the present motion into a Motion for Summary Judgment. (Opening
Br. 8 n.3.) That would certainly be appropriate in this fast-moving proceeding,
where Plaintiffs have now had ample opportunity to dispute the fact that their claims
were widely known pre-election, and have not done so.

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Hartford Fin. Servs. Grp., 547 F.3d 406, 425 (2d Cir. 2008) (“proper to take judicial

notice of the fact that press coverage . . . contained certain information, without

regard to the truth of their contents,” for purposes of deciding whether party had

“inquiry notice”).

      Plaintiffs do not dispute that the practices they challenge were well-known in

October or that the alleged injury from those practices was imminent. Nor could

they. Public reports show that the purported factual basis for the sole remaining

claim in the First Amended Complaint—that voters in some counties received notice

and an opportunity to cure, and voters in other counties did not—was widely known

by mid-October. On October 15, a Pennsylvania CBS affiliate broadcast a story

about this very issue, and published an article with the headline “Some Pennsylvania

counties offer second chances at mail-ballots, others do not.” (Dkt. 95-1, at 56,

Ex. D.) The report began: “Will you get a second chance if you made a mistake on

a mail-in ballot? Well, it may depend on where you live.” (Id.) In fact, the report

stated that in Lancaster County, home to Plaintiff Henry (Am. Compl. ¶ 15), “a

naked ballot is dead in the water and no one will be reaching out if you forget a

signature.” (Dkt. 95-1, at 56, Ex. D.)

      Similarly, several days before the election, the Philadelphia Inquirer reported

that “Pennsylvania struggles with how—or if—to help voters fix their mail ballots.”

(Dkt. 95-1, at 50, Ex. C.) The report pointed to a “patchwork” of policies across the


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State. (Id.) “Some counties are marking [defective] ballots as received” and thus

“giv[ing] voters no indication there’s a problem”; other counties “are marking them

as canceled . . . which sends voters warning emails”; and “[s]till others try to reach

voters directly.” (Id.) As Plaintiffs acknowledge, Philadelphia County publicized

that it was notifying voters whose ballots were rejected because those ballots were

not enclosed in a secrecy envelope and signed declaration envelope, and

Philadelphia officials disseminated that information well before Election Day. 4 That

the very “patchwork” of notice-and-cure policies that Plaintiffs allege was widely

reported several weeks ago shows that Plaintiffs could have raised their claim long

before Election Day. Indeed, the Trump Campaign filed pre-election suits in several

jurisdictions, including Pennsylvania, challenging various election procedures.

Plaintiffs have not identified any reason why they decided to wait nearly a week

after the election to file this action—and then nearly another week to amend it. One

might infer that it was a strategic decision to do exactly what is forbidden: “gamble

upon receiving a favorable decision of the electorate and then, upon losing, seek to

undo the ballot results in a court action.” Hendon, 710 F.2d at 182 (quoting Toney

v. White, 488 F.2d 310, 314 (5th Cir. 1973)).


4
 See Am. Compl. ¶ 127 (citing Phila. City Comm’rs, Cancelled Ballot Notification
Information, https://www.philadelphiavotes.com/en/home/item/1873-
cancelled_ballot_notification_info); Al Schmidt, Twitter.com (Oct. 29, 2020),
https://twitter.com/Commish_Schmidt/status/1321952555342172161 (Philadelphia
City Commissioner linking to the Cancelled Ballot Notification Information).

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      B.     Plaintiffs Could Have—and Should Have—Brought Their Claim
             Before The Votes Were Counted.
      As Voter Intervenors’ Opening Brief explains (pp. 13–14), Plaintiffs failed to

exercise diligence in raising their notice-and-cure claim. Plaintiffs’ only response

to the merits of that argument is that their claims were not “ripe” until “votes were

unequally counted” because that is “when their injury actually occurred.” (Opp. 26.)

That is wrong as a matter of law. A claim is ripe for adjudication as soon as there is

“danger of imminent injury.” Planned Parenthood of Cent. N.J. v. Farmer, 220 F.3d

127, 147 (3d Cir. 2000). There was clearly an imminent risk of injury (as Plaintiffs

define it) known before Election Day in this case. By definition, if a county is

providing voters with an opportunity to cure their mail-in ballots, the inexorable

consequence is that the county will, in fact, count those cured ballots.

      Moreover, Plaintiffs’ argument is directly contradicted by the Trump

Campaign’s own pre-election litigation in this state. Over a month ago, a federal

court in the Western District of Pennsylvania ruled that the Trump Campaign’s pre-

election challenges to certain mail-in ballot procedures were ripe, noting that the

alternative would be to force the campaign to litigate those challenges on the eve of,

or after, the election. See Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-

cv-966, 2020 WL 5997680, at *28–29 (W.D. Pa. Oct. 10, 2020). Having filed a

separate action challenging mail-in balloting procedures months before the election,

and obtained a ruling that this challenge was ripe, the Trump Campaign cannot turn


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around and credibly argue that they were somehow foreclosed from challenging the

notice-and-cure procedures at issue here until after the votes were counted. 5

      Plaintiffs’ newly discovered position on the supposed infeasibility of pre-

election challenges would turn election law on its head. By definition, challenges to

the procedures by which elections are conducted (or votes counted or other

candidates’ qualifications determined) can almost always be described as causing

“injuries” that do not actually “occur[]” until Election Day or thereafter. If that were

enough to justify a plaintiff’s lying in wait and suing after the election, laches would

never apply, and pre-election challenges would never be required. That is not and

cannot be the law.

      Plaintiffs make the cursory assertion that their claims are not laches-barred

because Plaintiffs “did not know Defendants would violate the law until canvassing

began and the watchers were illegally excluded” and that they “brought their claims

as soon as it was practicable to do so.” (Opp. 27 (§ I.5.b).) To the extent Plaintiffs

are trying to explain their delay in challenging notice-and-cure practices, this point

about observers is a non sequitur. To the extent they try to excuse their delay in

challenging observer access, those claims are not in the First Amended Complaint



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  Voter Intervenors’ reply in support of the original motion to dismiss incorrectly
suggested that the action before Judge Ranjan was filed several weeks before the
election. (Dkt. 142 at 12.) In fact (and even worse for the Trump Campaign), that
action was filed more than four months before the election.

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or before this Court, and are irrelevant. In any event, Plaintiffs offer no substantive

response to the Opening Brief, which explains in detail (pp. 10–12) why Plaintiffs

knew or should have known about observer access restrictions well in advance of

Election Day or at least very early on Election Day. Indeed, Plaintiffs did challenge

observer access rules in Delaware and Philadelphia Counties on Election Day.

Regardless of whether those challenges were timely, the much more expansive

claims they bring now—which Plaintiffs are seeking to reinsert into the case more

than two weeks after Election Day—are plainly not.

      Plaintiffs’ citation (at p.27 n.12) to League of Women Voters of Ohio v.

Brunner, 548 F.3d 463 (6th Cir. 2008), actually proves Voter Intervenors’ point.

Plaintiffs argue that “post-election Equal Protection Clause claims” are “regularly

litigated after the election.” Although League of Women Voters involved “post-

election . . . claims,” the request there was for an injunction requiring the State to

improve its voting system before the next election. Id. at 466. What courts do not

allow are belated Equal Protection claims seeking to throw out the results of a prior

election after votes are cast. See, e.g., Hendon, 710 F.2d at 182 (declining to grant

relief for past election despite plaintiffs’ meritorious equal-protection claim).

      C.     Plaintiffs’ Delay Has Prejudiced The Voter Intervenors.
      Plaintiffs’ delay in raising these claims prejudices Voter Intervenors (and the

public at large). This prejudice is not the “mere lapse of time” (Opp. 28 (quoting



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United States v. L.D.T. Corp., 302 F. Supp. 990, 991 (E.D. Pa. 1969))), but the threat

that millions of voters will be disenfranchised.

      Had Plaintiffs brought this suit before the election, the Secretary could have

issued even more guidance in order to ensure uniform approaches to defective

ballots. And rather than cherry-pick seven counties after the fact based on which

candidate won the most votes there, a pre-election challenge could have joined all

counties. That way, if Plaintiffs could establish that a divergence in county practice

violated the Equal Protection Clause, the Court could have had the option of ordering

all counties to take steps to notify voters of ballot defects, without disenfranchising

anyone. Instead, by waiting until after the election was complete, Plaintiffs forced

a situation where they can claim that mass disenfranchisement in selected counties,

where Plaintiffs speculate “defendants knew that mail ballots would favor

Biden/Democrats,” is the only way to address the alleged variation among counties’

notice-and-cure procedures. (Opp. 29.)

      Indeed, Plaintiffs’ delay—compounded by the halting manner in which they

have prosecuted this action and the extraordinary and necessarily time-consuming

discovery they demand—has resulted in a situation in which Plaintiffs ask for their

sweeping requests for relief to be adjudicated in expedited fashion on the eve of the

Commonwealth’s deadline to certify the election results. Interference with that

deadline, too, would effectively disenfranchise all Pennsylvanians. Cf. Stein v.


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Cortés, 223 F. Supp. 3d 423, 442 (E.D. Pa. 2016) (balance of equities weighed

against ordering recount that would prevent timely certification of election results).

Plaintiffs’ gamesmanship is obviously prejudicial, and exactly what courts reject in

election case after election case. (See, e.g., Opening Br. 8–9.)

      Voters are entitled to rely on the rules that are in place at the time they vote.

Courts have consistently and vigorously applied the doctrine of laches to protect this

vital interest. If Plaintiffs were truly concerned that some counties were making it

easier to cure ballots than others, they could have easily sued long before the

election. They may not belatedly complain about these practices and demand

disenfranchisement as a remedy.

II.   Discarding Lawfully Cast Votes Is Not A Permissible Remedy For
      Plaintiffs’ Alleged Equal Protection Violation.
      Plaintiffs’ Opposition confirms that their requested remedy is impermissible

as a matter of law. Plaintiffs seek to prevent certification of the Commonwealth’s

election results, in their entirety or to the extent they include mail-in or absentee

ballots where voters were provided with the opportunity to cure perceived defects in

their ballots. (Am. Compl. ¶ 170.) The alleged errors in the way Pennsylvania

counties administered the election simply cannot support an order not to count valid

ballots cast by qualified Pennsylvania voters. Thus, even if Plaintiffs had stated a

valid constitutional claim, the drastic relief they seek could not be granted, and thus

their complaint must be dismissed. See Gourgue v. United States, No. 12CV–1490–


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LAB, 2013 WL 1797099, at *3 (S.D. Cal. Apr. 29, 2013) (appropriate to “challenge

remedies that are unavailable as a matter of law” through either a Rule 12(b)(6)

motion to dismiss or a Rule 12(f) motion to strike). The “selection of an improper

remedy in the Rule 8(a)(3) demand for relief will not be fatal to a party’s pleading if

the statement of the claim indicates the pleader may be entitled to relief of some

other type.” 5 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1255 (3d ed. 2020 update) (emphasis added). Here, Plaintiffs have

neither identified nor suggested any other form of relief that would redress their

claimed injuries, so this is a case where an improper request for relief is fatal and the

entire case should be dismissed. 6

      First, as discussed in the Voter Intervenors’ opening brief, disenfranchising

voters is not the proper way to cure Plaintiffs’ alleged constitutional violation.

(Opening Br. 20-21.) The defendant counties gave voters an opportunity to cure

perceived deficiencies in their ballots so those voters could exercise their

fundamental right to vote. The voters who cured their ballots include those whose


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  Voter Intervenors respectfully request that this Court dismiss Plaintiffs’ prayer for
relief under Rule 12(b)(6) on the grounds that the remedies Plaintiffs request are
unavailable as a matter of law or, alternatively, strike the prayer for relief under Rule
12(f). Compare, e.g., Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974 (9th
Cir. 2010) (motion to eliminate legally unavailable forms of relief from complaint
properly brought under Rule 12(b)(6) or Rule 56, not Rule 12(f)), with, e.g., White
v. Alcon Film Fund, LLC, No. 1:13-cv-1163, 2013 WL 12067479, at *7 n.7 (N.D.
Ga. Aug. 13, 2013) (noting that “[c]ourts are divided as to whether a motion to strike
pursuant to Rule 12(f) is the appropriate method for challenging a prayer for relief”).

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ballots were initially rejected due to technical reasons, such as signing an Anglicized

version of the voter’s name in order to fit it into the “very small” signature space,

omitting a secrecy envelope, or not writing an address in the voter declaration when

that address was pre-printed elsewhere on the envelope. (See Dkt. 31-7, ¶ 7; 31-8, ¶

11; 31-9, ¶ 7; 31-10, ¶ 7; 31-11, ¶ 7.) Some of these purported errors would provide

no basis for a county elections office to reject a ballot in any event, as Pennsylvania

courts have confirmed.      See Order, Donald J. Trump for President, Inc. v.

Montgomery Cnty. Bd. of Elections, No. 2020-18680 (Pa. Ct. Com. Pl. Nov. 13,

2020) (Ex. A) (holding that votes should be counted where voters did not write their

addresses on ballot declarations).

      Even assuming that these counties erred by notifying voters of potential errors

in their ballots, the voters did nothing wrong by relying upon the notice and

correcting their ballots. See Appeal of Simon, 46 A.2d 243, 246 (Pa. 1946) (“[T]he

rights of voters are not to be prejudiced by [officials’] errors.”). Plaintiffs make the

remarkable assertion that this Court should “discard” votes, on the basis that some

unspecified number of votes were “unlawfully cast.” (Opp. 29.) And at argument,

Plaintiffs’ counsel repeatedly asserted that “curing” a ballot is illegal under

Pennsylvania law, without citing any provision saying that. None of this is true—

there is nothing in the Election Code that says “one strike and you’re out.” A ballot

that is “cured” is by definition a valid ballot—any deficiency is fixed and every


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requirement is met. Far from adopting the draconian rule Plaintiffs’ suggest,

Pennsylvania law permits unsuccessful mail-in voters to cast a provisional ballot.

See 25 P.S. § 3150.16(b)(2) (“An elector who requests a mail-in ballot and who is

not shown on the district register as having voted may vote by provisional ballot.”

(emphasis added)). Some voters made significant efforts to exercise that right and

cast a single valid ballot. (See, e.g., Dkt. 31-8 ¶ 15 (voter drove to two locations in

a different town, in the pouring rain, to correct ballot).) Had no notice been given,

these voters still would have had every right to fix their own mistakes and cast a

valid provisional ballot. The fact that some voters may have followed the guidance

of county election officials, reasonably expecting that their efforts to fix any

problems would ensure their votes were counted, cannot be grounds for “discarding”

valid votes cast by qualified voters.

      Second, the mass disenfranchisement sought by Plaintiffs would be even more

extreme if some of the ballots they allege were improperly cured cannot be separated

from other ballots that were not cured. (See Dkt. 105 at 18, 42.) That potential

problem could have been avoided had Plaintiffs brought a pre-election challenge.

See supra Section I. But now, it would plainly be improper to remedy the problem

of counties’ permitting voters to fix their ballots by throwing out millions of votes

that not even Plaintiffs contend were improperly cast. (See, e.g., Dkt. 31-5, ¶ 6 (voter

in third trimester of high-risk pregnancy cast absentee ballot); Dkt. 31-6, ¶ 6 (voter


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with autoimmune disorder who voted by absentee ballot to avoid COVID-19

exposure); Dkt. 31-2, ¶ 2 (mail voter who was concerned about contracting COVID-

19 due to age and race).)

      Third, for similar reasons, there is no support for Plaintiffs’ suggestion that

the Court could simply declare the loser of the election to be the winner based on

some purported expert’s guess as to how more than 1.5 million voters may have

voted. See Opp. 3-4 (suggesting that an expert could “extrapolate” the percentage

of supposedly “illegally counted” ballots based on a review of a sample of ballots to

all of the 1.5 million mail-in ballots and based on that percentage, “set aside these

votes and declare Trump the winner”). Even assuming—contrary to Pennsylvania

law—that any of these votes should not be counted, that would not permit a mass

disenfranchisement of mail-in voters. Indeed, “short of demonstrated fraud, the

notion that presumptively valid ballots cast by the Pennsylvania electorate would be

disregarded based on isolated procedural irregularities that have been redressed—

thus disenfranchising potentially thousands of voters—is misguided.”           In Re

Canvassing Observation Appeal of City of Philadelphia Bd. of Elections, 2020 WL

6737895, at *9 (Saylor, C.J., dissenting). 7


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  Chief Justice Saylor dissented on the grounds that (1) the case was moot and (2)
the Commonwealth Court reasonably directed election officials in Philadelphia to
permit candidate representatives closer views of the ballots; he nonetheless opined
that the relevant votes could not be disregarded. Thus, even if the Plaintiffs’ former


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      None of the cases Plaintiffs cite support their argument that throwing out

votes, or having a statistical expert decide a presidential election rather than voters,

are permissible remedies for Plaintiffs’ equal protection claim. Marks v. Stinson, 19

F.3d 873 (3d Cir. 1993), involved specific factual findings of “massive absentee

ballot fraud.” Id. at 887. Here Plaintiffs have admitted that they allege no fraud,

much less massive fraud. They do not allege any votes were cast by a non-eligible

voter. Plaintiffs’ objection to “curing” is focused on ballots that by definition meet

all applicable requirements. Whatever remedy might be justified under the extreme

facts of Marks, there is no allegation of anything remotely similar here. Plaintiffs’

other citations (at p.31) provide no support for Plaintiffs’ requested

disenfranchisement remedy. See Griffin v. Burns, 570 F.2d 1065, 1074-76 (1st Cir.

1978) (state could not refuse to count retroactively void absentee ballots for voters

who had been induced by state action to vote by absentee rather than in person);

Golden v. Gov’t of the Virgin Islands, Nos. 1:05-CV-00005RLFGWC,

CIV.2005/0005, 2005 WL 6106401, at *7 (D.V.I. Mar. 1, 2005) (write-in candidate

could not be seated pursuant to Virgin Islands statute requiring party-affiliated

candidates to be elected in primary election).




claims regarding observation of canvassing were at issue (though they have been
removed from the operative First Amended Complaint), voter disenfranchisement
would not be a permissible remedy for those claims, even if they had any merit.

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      Finally, the remedy sought by Plaintiffs would create its own violations of the

Equal Protection Clause that would dwarf the severity of any purported

constitutional violations alleged by Plaintiffs. (Opening Br. 18.) Plaintiffs do not

allege that the defendant counties were the only counties in Pennsylvania that

provided voters with notice and permitted them to cure their ballots; indeed, they

admit that the Secretary of the Commonwealth provided uniform guidance to all

counties that they should do so. (Am. Compl. ¶ 129.) And it appears that other

counties likely did engage in the notice-and-cure practice recommended by the

Secretary. (Dkt. 95-1, at 52–53, Ex. C; id. at 56, Ex. D.) Yet Plaintiffs seek to throw

out voters’ ballots in only selected counties. This selective remedy might be

advantageous to one campaign, but it would hardly remedy a complaint of

differential treatment. If Plaintiffs had their way, they would fix a supposed Equal

Protection Clause violation by creating a far larger one. See Stein, 223 F. Supp. 3d

at 442 (losing candidate’s proposed remedy “would abrogate the right of millions of

Pennsylvanians to select their President and Vice President”). Because Plaintiffs

cite no authority demonstrating that this is permitted under the law, the First

Amended Complaint must be dismissed.

                                  CONCLUSION

      The Court should dismiss the First Amended Complaint.




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Dated: November 19, 2020              Respectfully submitted,

Mary M. McKenzie (PA No. 47434)**     /s/ Witold J. Walczak
Benjamin D. Geffen (PA No. 310134)    Witold J. Walczak (PA No. 62976)
Claudia De Palma (PA No. 320136)      AMERICAN CIVIL LIBERTIES UNION OF
PUBLIC INTEREST LAW CENTER            PENNSYLVANIA
1500 JFK Blvd., Suite 802             P.O. Box 23058
Philadelphia, PA 19102                Pittsburgh, PA 15222
Telephone: (215) 627-7100             Telephone: (412) 681-7736
mmckenzie@pubintlaw.org               vwalczak@aclupa.org
bgeffen@pubintlaw.org
cdepalma@pubintlaw.org                Marian K. Schneider (PA No. 50337)*
                                      AMERICAN CIVIL LIBERTIES UNION OF
Shankar Duraiswamy*                   PENNSYLVANIA
David M. Zionts*                      P.O. Box 60173
COVINGTON & BURLING LLP               Philadelphia, PA 19102
One City Center                       Telephone: (215) 592-1513
850 Tenth Street NW                   mschneider@aclupa.org
Washington, DC 20001
Telephone: (202) 662-6000             Sophia Lin Lakin*
SDuraiswamy@cov.com                   Adriel I. Cepeda Derieux*
DZionts@cov.com                       Ihaab Syed*
                                      Dale Ho*
Rani Gupta*                           AMERICAN CIVIL LIBERTIES UNION
COVINGTON & BURLING LLP               FOUNDATION
3000 El Camino Real                   125 Broad Street, 18th Floor
5 Palo Alto Square                    New York, NY 10004
Palo Alto, CA 94306-2112              Telephone: (212) 549-2500
Telephone: (650) 632-4700             slakin@aclu.org
RGupta@cov.com                        acepedaderieux@aclu.org
                                      isyed@aclu.org
Kristen Clarke**                      dho@aclu.org
Jon Greenbaum*
Ezra Rosenberg*                       Sarah Brannon*
LAWYERS COMMITTEE FOR CIVIL RIGHTS    AMERICAN CIVIL LIBERTIES UNION
UNDER LAW                             FOUNDATION
1500 K Street NW, Suite 900           915 15th Street, NW
Washington, DC 20005                  Washington, DC 20005
Telephone: (202) 662-8300             Telephone: (202) 210-7287
                                      sbrannon@aclu.org

                                     20
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kclarke@lawyerscommittee.org               Counsel for Intervenor-Defendants
jgreenbaum@lawyerscommittee.org            NAACP-Pennsylvania State Conference,
erosenberg@lawyerscommittee.org            Black Political Empowerment Project,
                                           Common Cause Pennsylvania, League of
                                           Women Voters of Pennsylvania, Joseph
* Admitted pro hac vice                    Ayeni, Lucia Gajda, Stephanie Higgins,
** Pro hac vice application forthcoming    Meril Lara, Ricardo Morales, Natalie
                                           Price, Tim Stevens, and Taylor Stover




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                       CERTIFICATE OF WORD COUNT

      I hereby certify that the above memorandum contains fewer than 5,000

words (4,768).



Dated: November 19, 2020

                                                      /s/ Witold J. Walczak
                                                      Witold J. Walczak




                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, the foregoing reply in support of the motion to

dismiss was filed electronically and served on Plaintiffs’ counsel of record via the ECF

system of the U.S. District Court for the Middle District of Pennsylvania.



Dated: November 19, 2020

                                                      /s/ Witold J. Walczak
                                                      Witold J. Walczak




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